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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                   )
                                             )
        v.                                   )      Case No. 21-CR-453 (JDB)
                                             )
 SEAN MICHAEL MCHUGH,                        )
                                             )
                       Defendant.            )
                                             )


                                           ORDER
       Upon consideration of the Defendant’s Motion to File Out of Time, and for good cause

shown, it is this ____ day of ____________, 2023

       ORDERED that said motion be, and hereby is, GRANTED and, further

       ORDERED that Defendant, by and through counsel, may file his Motion for Discovery

and for an Evidentiary Hearing in Support of His Claim of Selective Prosecution herein.




Dated _____, day of ____________, 2023.




                                                   ____________________________________
                                                   Honorable John D. Bates
                                                   United States District Court Judge
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